Case 1:22-cv-01568-JRS-KMB Document 33 Filed 04/11/23 Page 1 ofAcknowledged.
                                                                1 PageID #: 96
                                                              JRS, DJ, 4/11/2023.
                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE SOUTHERN DISTRICT OF INDIANA                       Distribution to all counsel
                                                                                of record via CM/ECF.
                                                 §
Thomas Roehrman,                                 §
                                                 §
                    Plaintiff,                   §      Civil Action No. 1:22-cv-1568- JRS-
                                                 §      KMB
     v.                                          §
                                                 §      Assigned to:
McAfee, LLC and Protected.net Group              §      The Honorable James R. Sweeney II
Limited d/b/a Total AV,                          §      Courtroom 307
                                                 §
                     Defendant.                  §
                                                 §


                                  STIPULATION TO DISMISS


TO THE CLERK:

       Pursuant to Rule 41(a)(1)(A)(ii), counsel for all parties hereto stipulate to the dismissal

with prejudice and with each party to bear its own costs and fees.



   /s/ Esteban Morales_____________                    /s/ Jacob U. Ginsburg
   Joshua Briones, Esq. (admitted pro hac vice)       By: /s/ Jacob U. Ginsburg
   Esteban Morales, Esq. (admitted pro hac vice)      Jacob U. Ginsburg, Esq.
   Cesar Dulanto, Esq. (admitted pro hac vice)        Kimmel & Silverman, P.C.
   MINTZ, LEVIN, COHN, FERRIS, GLOVSKY                30 E. Butler Ave.
   AND POPEO, P.C.                                    Ambler, PA 19002
   Century Plaza Towers                               Phone: 215-540-8888
   2049 Century Park East, Suite 300                  Facsimile: 877-788-2864
   Los Angeles, CA 90067                              Email: jginsburg@creditlaw.com
   Tel: 310-586-3200                                  teamkimmel@creditlaw.com
   Fax: 310-586-3202
   Email: jbriones@mintz.com;
   emorales@mintz.com; cmdulanto@mintz.com

   Date: April 10, 2023                               Date: April 10, 2023




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                                    STIPULATION FOR DISMISSAL
